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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

ALBERT L. GRAY, Administrator, et. al.

Plaintiffs

VS. C.A. No.: 04-312L
JEFFREY DERDERIAN, et. al.,

Defendants

MOTION OF THE CO-TRUSTEES, PAUL A. FINN & CITIZENS BANK, TO
TERMINATE THE 468 (B) QUALIFIED SETTLEMENT FUND

Now comes Paul A. Finn on behalf of himself and the co-trustee, Citizens Bank, and
moves this Honorable Court to terminate the 468 (B) Qualified Settlement Fund and Trust. The
co-trustees aver to this Honorable Court that all of the settlement funds have been collected by
the co-trustees and all of the collected money has been disbursed according to the settlement
agreements and/or court orders. Accordingly there is no further reason for the trust since the co-
trustees’ duties under the Trust Document have been fully and completely discharged.

Therefore the co-trustees pray that this Honorable Court terminate the co-trustees
obligations and terminate the 468 (B) Qualified Settlement Fund and Trust.

Respectfully Submitted

awe L. Yon

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